Case: 3:02-cv-50029 Document #: 30 Filed: 01/13/03 Page 1 of 2 Page|D #:134

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Minute Order Form (061'97)
United States District Court, Northern District of Illinois
Name of Assigned Judge ' ' ' Sitting Judge if Other
or Magistrate Judge Phlhp G' Remhard than Assigned Judge
CASE NUMBER 02 C 50029 DATE 1/13/2003
CASE Blood vs. MTP, Inc., et al.
TITLE
[In the following box {a) indicate the party filing the motion, e.g., plaintiff, defendant, 3rd party plaintiff, and (b} state briefly the
MOTION_ nature of the motion being presented.]
Defendant Papa John’s International’s motion for summary judgment

DOCKET ENTRY:

(l) l:l Filed motion of [ use listing in “Motion” box above.]

(2) l:] Brief in support of motion due

(3) l:| Answer brief to motion due . Reply to answer brief due

(4) ij Ruling/Hearing on set for at

(5) ill Status hearing[held/continued to] [set for/re-set for] on set for at

(6) [] Pretrial conference[held/continued to] [set for/re-set for] on set for at

(7) |;l Trial[set forfre-set for] on at

(8) ij [Bench/Jury trial] [Hearing] held/continued to at

(9) C| This case is dismissed [with/'without] prejudice and Without costs[by/agreement/pursuant to]

[I| FRCP4(rn) l:] General Rule 21 |Il FRCP41(a)(l) \“_`| FRCP41(a)(2).

(10) l [Other docket entry] For the reasons stated on the reverse Memorandum Opinion and Order,
Papa John’s International’s motion for summary judgment is granted. Papa John’s International is
dismissed as a defendant

(11) l [For further detail see order on the reverse side of the orig al min order.]

 

No notices required, advised in open court

 

   

No notices required.

    

number of notices

 

X Notices mailed by judge`s staff.

 

Nor.itied counsel by telephone

 

Docketing to mail notioes.

 

Mail AO 450 form.

 

 

Cop)l to judge/magistrate judge.

 

    

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MEMORANDUM o`P_INIoN AND 0RD_ER

 

 

Plaintiff, Marjorie Blood, has tiled a nme#couht"`=bdiiibi'§mtagaiii§t defendants, MTP, Inc. dfb/a Papa John’s Pizza
(“MTP”), Papa John’s International, Inc. (“P.li”), and Kevin Campbell. She alleges various claims under Title VIl of the Civil
Rights Act of 1964, 42 U.S.C. § 2000e et M (“Title VII”), and common law tort claims. .Turisdiction and venue are proper
based on 42 U.S.C. § 2000e-5(f)(3) and 28 U.S.C. § 1367. Before the court is PJI’s motion for summary judgment filed
pursuant to l~`ederal Rule of Civil Procedure 56.

As one of PJI’s lianchisees, MTP operates a Papa John’s Pizza restaurant in South Beloit, lllinois. Before her termination
on June 8, 2001, Blood worked at the South Beloit restaurant as a “special events and group sales coordinator.” While there,
she alleges she Was subjected to sexual harassment and a hostile work environment, retaliated against for complaining about
the harassment and ultimately terminated because of her sex, all in violation of Title VII. She seeks to hold both MTP and
PJI liable on all of her Title VII claims (Counts l - lll), as well as her supplemental claims for assault and battery (Count IV),
false imprisonment (Count VI), and intentional infliction of emotional distress _(Count VIII). in its motion for summary
judgment, PJI seeks to dismiss itself from this law suit on the basis that it is neither Blood’s “ernployer” for Title VII purposes

.nor an agent of MTP or MTP’s employees so as to be vicariously liable for the allegedly tortious conduct,

All of Blood’s attempts to hold PJI liable under Title VII are without merit First, she argues both she and Donna
Peterson, the manager at the South Beloit restaurant, “considered themselves” to be employed by PII. How Blood’s or
Peterson’s personal beliefs prove the existence of an employment relationship with PJI is beyond the court. Second, Blood
confusineg cites Duldulao v. Saint ng of Nazareth Hospital Center, 505 N.E.2d 314 (Ill. 1987), for the proposition that a
“Team Member Handbook” PJI provided to MTP created an employment relationship between PJI and Blood. Duldulao,
however, has nothing to do with deciding if the plaintiff and defendant have an employment relationship in the first place; it
assumes they do and instead discusses whether an employee handbook can overcome the presumption of at~will employment
by creating a contractual right to continued employment or pre-termination disciplinary procedures _S_e_e_ _igi_. at 316-19.
Duldulao is thus simply irrelevant in determining whether PJI is an “employer” under Title VII. And even if the court were
to consider the handbook for this purpose, the January 2001 version of the handbook (Blood was hired in February 2001)
specifically says in part, “You are not an employee of [PJI], but of the independent company which owns the restaurant where
you work.” (Def. Exh. A~Z, p. 2) Apart from this clear disclaimer, Blood’s idea that boilerplate and prefatory pleasantries in
the handbook, like “We hope you enjoy working for Papa John’s and have a long and successful career with our Franchise
Family” and “We need and welcome you to the Papa john’s Franchise Family” and “You are a team member in the nation’s
fastest-growing pizza company,” constitute an offer of employment by PJI has so many fallacies the court would not know
where to begin. In addition, it is undisputed that PJI had no knowledge of or involvement in the hiring, disciplining, or
termination ofBlood and did not pay any ofthe wages or provide health insurance, pension, or other benefits to the employees
at the South Beloit restaurant (LR 56.l(a) il‘l[ 24, 36) Blood claims in her affidavit she “was told” MTP had to obtain
permission nom PJI to create her “Special Events and Group Sales Coordinatoi” position, but this completely lacks any support
in the record Blood does not say who told her this and her assertion is flatly contradicted by MTP’s president himself (LR
56. l(b) Def. Resp. 11 57) ln short, there is no indication of any employment relationship between PJI and Blood directly.

Alternatively, Blood seems to argue PJI and MTP are affiliated corporations under Papa v. Kay Industries2 inc., 166 F.Bd
937 (7th Cir.), cert. denied 528 U.S. 1019 (1999) - although she does go off on an unrelated tangent by discussing agency
principles under the Ellerth~Faragl_ier affirmative defense Reading her brief generously, Blood appears to suggest that, by

" virtue of the Team Member Handbook, PJI established MTP’s “employment policies and procedures” and, therefore, “directed
the discriminatory act, practice, or policy of which” she is complaining £a_r§, 166 F.3d at 941. In the court’s opinion, this
is a non sequitor because Blood is not complaining about any of the policies contained in the handbook but about being
sexually harassed, retaliated againstj and terminated by certain individuals at the South Beloit restaurant And it is undisputed
PJI had absolutely no involvement in these events. (LR 56. l(a) ‘l[ 37)

Finally, Blood makes the argument that PJI can be liable under the “integrated enterprise” test, despite recognizing that
_P_apg abrogated this test in Title VII cases. _S£ Worth v. Tyer, 276 F.3d 249, 260 (7th Cir. 200]). The court cannot understand
how Blood‘s counsel can suggest this test “should be applied in this case” and argue its merits for four and a half pages when
he knows it is no longer good law in the Seventh Circuit. _

Blood’s argument that P.ll is vicariously liable for the torts of MTP or MTP’s employees under the apparent agency -'
doctrine is equally unconvincing Her theory is that PJI “created the appearance that MTP was its agent through the Team
Member Handbook.” Again, the handbook itself easily dispels such a notion. Apart nom the language quoted above stating
that team members are not employees of PJ l but of the independent company which owns the restaurant where they work, the
handbook also says that the “franchisee is an independent business person who owns the restaurant where you work.” In the
face of these clear warnings, Blood could not have reasonably concluded MTP was an agent ofPJI simply because PJI provided
the handbook to its franchisees Nor, even assuming there was an apparent agency, is there any evidence that Blood’s injuries
~ the torts allegedly committed against her - would have occurred “but for” her “justifiable reliance on the apparent agency.”
O’Banner v. McDonald’s Co;g., 670 N.E.Zd 632, 634 (Ill. 1996). In fact, there is no evidence that Blood relied on the
supposed apparent agency at all - i.e., that she worked at the South Beloit restaurant because she believed she was working
for PJI and not some independent franchisee

 

 

F or the reasons stated above, PJI’s motion for summary judgment is granted and it is hereby dismissed as a defendant

 

